                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                   CRIMINAL DOCKET NO. 1:13-CR-043-MR-DLH

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                MEMORANDUM AND
                                          )                RECOMMENDATION
ALBERT TOMES and TINA TOMES,              )
                                          )
                  Defendants.             )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT on Defendant Tina Tomes’ “Motion To

Suppress And Memorandum In Support” (Document No. 59) and the “Government’s Response

To Defendant’s Motion To Suppress Evidence” (Document No. 86). The pending motion has

been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and is ripe for

disposition. Having carefully considered the motion, the record, and applicable authority, as

well as the oral arguments of counsel at a hearing conducted on December 5, 2013, the

undersigned will recommend that the motion be denied.

                              PROCEDURAL BACKGROUND

       On June 19, 2013, Albert Tomes and Tina Tomes (“Defendants”), along with others,

were charged in a 12-count Bill of Indictment with, among other crimes, conspiracy to distribute

and possess with intent to distribute a quantity of “synthetic cathinones” or Alpha-PVP, a

Schedule I controlled substance analogue, in violation of Title 21, U.S.C. §§ 846 and 841(a)(1).

(Document No. 3). Defendants made their initial appearances on June 26, 2013. The Court




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conducted Defendants’ arraignments and detention hearings on this initial bill of indictment on

July 8, 2013, releasing Defendants on conditions.

          On August 7, 2013, Defendant Tina Tomes filed a “Motion To Suppress And

Memorandum In Support” (Document No. 59).             The Government filed its “Response To

Defendant’s Motion To Suppress Evidence” on September 9, 2013.             (Document No. 86).

Defendant Albert Tomes filed a “Motion To Join Suppression Motion Of Co-Defendant And

Participate In The Evidentiary Hearing” (Document No. 83) on September 5, 2013. Judge

Reidinger issued an “Order” (Document No. 90) on October 1, 2013, granting Defendant’s

“Motion to Join…” (Document No. 83). A Superseding Bill of Indictment (Document No. 106)

adding additional charges and additional Defendants was filed December 29, 2013, and trial is

currently scheduled for March 3, 2014.

          The undersigned held a hearing on the pending “Motion To Suppress…” on December 5,

2013. The principal issue presented by the motion is simple: were the applications for the

search warrants in this case supported by probable cause and therefore properly issued? In the

alternative, assuming probable cause was lacking as to any portion of either search warrant

application, was the search nonetheless legal as falling within the Leon good faith exception?

For the reasons set forth below, these searches were lawful and the motion to suppress should be

denied.

                                   STANDARD OF REVIEW

A. Standard Applicable To Motion to Suppress A Search Warrant

          The Fourth Amendment to the United States Constitution provides that “the right of the

people to be secure in their persons, houses, papers, and effects, against unreasonable searches

and seizures, shall not be violated.”     U.S. Const. amend. IV.     “This fundamental right is



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preserved by a requirement that searches be conducted pursuant to a warrant issued by an

independent judicial officer.” California v. Carney, 471 U.S. 386, 390, (1985). When a District

Court reviews a search warrant issued by a magistrate or a superior court judge, the judicial

officer’s determination of probable cause is entitled to great deference.      United States v.

Wellman, 663 F.3d 224, 228 (4th Cir. 2011); United States v. Hodge, 354 F.3d 305, 309 (4th

Cir. 2004). “Thus, ‘the duty of a reviewing court is simply to ensure that the magistrate had a

substantial basis for concluding that probable cause existed.’” Hodge, 354 F.3d at 309 (quoting

Illinois v. Gates, 462 U.S. 213, 238–39 (1983)). Moreover, the Court must limit its review to

considering “only the information presented to the magistrate who issued the warrant.” United

States v. Wilhelm, 80 F.3d 116, 118 (4th Cir. 1996).

       In Hodge, the United States Court of Appeals for the Fourth Circuit explained the

concept of probable cause necessary for the issuance of a search warrant:

              As the Supreme Court has noted, “probable cause is a fluid
              concept––– turning on the assessment of probabilities in particular
              factual contexts—not readily, or even usefully, reduced to a neat
              set of legal rules.” Id. at 232, 462 U.S. 213, 103 S.Ct. 2317, 76
              L.Ed.2d 527. Although noting that probable cause is not
              susceptible to precise definition, the Supreme Court has described
              it as “existing where the known facts and circumstances are
              sufficient to warrant a man of reasonable prudence in the belief
              that contraband or evidence of a crime will be found.” Ornelas v.
              United States, 517 U.S. 690, 696, 116 S.Ct. 1657, 134 L.Ed.2d 911
              (1996); see also Gates, 462 U.S. at 238, 103 S.Ct. 2317, 76
              L.Ed.2d 527 (explaining that a probable cause inquiry involves a
              determination of “whether, given all the circumstances ..., there is
              a fair probability that contraband or evidence of a crime will be
              found in a particular place”).

354 F.3d at 309; see also Wellman, 663 F.3d at 228 (“the relevant question is whether the

known facts and circumstances were sufficient such that a person of reasonable prudence could

conclude that the described evidence would be found in that particular place.”). As the Fourth



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Circuit and Supreme Court have explained, there is no bright-line rule as to what specific

information a search warrant application must include, and officers may decide to include a

variety of information when submitting an application to a magistrate. Wellman, 663 F.3d at

228. Instead, the Court must review the application in its entirety and determine whether it

provided sufficient information to support the issuance of the search warrant in question. Id.

B. Standard Applicable to the Leon “Good Faith Exception”

       The Fourth Circuit addressed the good faith exception adopted in United States v. Leon,

468 U.S. 897 (1984), at length in United States v. Williams, 548 F.3d 311 (4th Cir. 2008).

                       As the Supreme Court instructed in Leon, “a court should
               not suppress the fruits of a search conducted under the authority of
               a warrant, even a ‘subsequently invalidated’ warrant, unless ‘a
               reasonable well trained officer would have known that the search
               was illegal despite the magistrate's authorization.’” United States
               v. Bynum, 293 F.3d 192, 195 (4th Cir. 2002) (quoting Leon, 468
               U.S. at 922 n.23, 104 S.Ct. 3405, 82 L.Ed.2d 677). The Leon
               Court explained “that the deterrence purpose of the exclusionary
               rule is not achieved through the suppression of evidence obtained
               by ‘an officer acting with objective good faith’ within the scope of
               a search warrant issued by a magistrate.” United States v. Perez,
               393 F.3d 457, 461 (4th Cir. 2004) (quoting Leon, 468 U.S. at 920,
               104 S.Ct. 3405, 82 L.Ed.2d 677). “Hence, under Leon’s good faith
               exception, evidence obtained pursuant to a search warrant issued
               by a neutral magistrate does not need to be excluded if the officer's
               reliance on the warrant was ‘objectively reasonable.’” Id. (quoting
               Leon, 468 U.S. at 922, 104 S.Ct. 3405, 82 L.Ed.2d 677).


                       The Leon Court admonished that searches conducted
               “pursuant to a warrant will rarely require any deep inquiry into
               reasonableness, for a warrant issued by a magistrate normally
               suffices to establish that a law enforcement officer has acted in
               good faith in conducting the search.” 468 U.S. at 922, 104 S.Ct.
               3405, 82 L.Ed.2d 677 (internal quotation marks omitted). An
               officer’s reliance on a warrant would not qualify as “objectively
               reasonable,” however, in the following four circumstances:

                      First, where “the magistrate or judge in issuing a
                      warrant was misled by information in an affidavit


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                      that the affiant knew was false or would have
                      known was false except for his reckless disregard of
                      the truth,” Id. at 923, 468 U.S. 897, 104 S.Ct. 3405,
                      82 L.Ed.2d 677;

                      Second, where “the magistrate acted as a rubber
                      stamp for the officers and so ‘wholly abandoned’
                      his detached and neutral ‘judicial role,’ “Bynum,
                      293 F.3d at 195 (quoting Leon, 468 U.S. at 923, 104
                      S.Ct. 3405, 82 L.Ed.2d 677);

                      Third, where a supporting affidavit is “so lacking in
                      indicia of probable cause as to render official belief
                      in its existence entirely unreasonable,” Leon, 468
                      U.S. at 923, 104 S.Ct. 3405, 82 L.Ed.2d 677
                      (internal quotation marks omitted); and

                      Fourth, where “a warrant is so facially deficient–––
                      i.e., in failing to particularize the place to be
                      searched or the things to be seized–––that the
                      executing officers cannot reasonably presume it to
                      be valid,” Id.

              “In any of these four circumstances, then, the Leon good faith
              exception does not apply.” Perez, 393 F.3d at 461.

Williams,548 F.3d at 317–318.

                                         DISCUSSION

A. Summary of Affidavits

       As stated above, the duty of the reviewing court in a case such as this is simply to ensure

that the magistrate judge who issued the warrant had a substantial basis for concluding that the

application was supported by probable cause. Hodge, 354 F.3d at 309. The reviewing court

must limit its review to the sworn information presented to the magistrate judge. Wilhelm, 80

F.3d at 118. In the case of both search warrants at issue here, the sworn affidavit submitted in

support was presented by DEA Agent Clayton W. Haines. The contents of these affidavits,

which are of course closely related, drive the result here – that these search warrants were



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supported in all respects by probable cause. The documents of course speak for themselves,

though a summary of the highlights seems appropriate.

       1. The December Search

       In the first affidavit, Agent Haines sought a warrant to search Pandora’s Dreams, a

business located in Spruce Pine, North Carolina, and a residence located on Laurel Cove Road in

Bakersville, North Carolina. Haines sets forth his law enforcement experience – namely, that he

had been employed as a DEA agent since 2005, and that prior to that time, he was a Louisiana

State Trooper from 2003 to 2005. Among other things, Haines represents that he “has been

involved in numerous, long-term, complex investigations involving the possession and

distribution of . . . synthetic cathinones – more commonly known as ‘bath salts.’” At paragraphs

5(a) through 5(t), Haines sets forth what he knows generally about trafficking in drugs and

synthetic drugs based on his training and experience. Specific to synthetic drugs, Agent Haines

asserts within this portion of the affidavit as follows:

                       That drug traffickers involved with synthetic drugs market
               their products to the public as “legal.” Many of the synthetic
               cathinones/stimulants have packaging that reads, “Not for human
               consumption.” This packaging is an attempt to circumvent federal
               and state narcotics laws, such as the Analogue Statute.
               Additionally, I know from training and interviews with users that
               these traffickers will call their products “insect repellent,” “anti-
               itch powder,” or “glass cleaner” to disguise the true use of the
               synthetic drug.

       In the portion of the affidavit specifically noted as regarding probable cause, Haines

alleges as follows:

                         Law enforcement is investigating a number of individuals
                          and entities, including Tina and Albert Tomes, for
                          distributing  synthetic   stimulants/cathinones,   more
                          commonly known as “bath salts;”




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              Synthetic stimulants/cathinones are “designer drugs” that
               are sold in powder and pill form as “bath salts,” “bath
               powder,” “anti-itch powder,” “glass cleaner,” and “insect
               repellent,” and their effects have been described as being
               similar to those caused by other stimulants such as
               methamphetamines, MDMA (ecstasy), and cocaine;

              A controlled substance analogue is defined in 21 U.S.C. §
               802(32), and a controlled substance analogue shall, to the
               extent intended for human consumption, be treated, for the
               purposes of any Federal law, as a controlled substance in
               Schedule I. Alpha-Pyrrolidinopentiophenone (a-PVP) is a
               controlled substance analogue;

              Tina Tomes paid for an Individual Business License on
               April 20, 2012, and listed herself as the owner of Pandora’s
               Dreams on her Facebook page;

              Investigators conducted undercover purchases of synthetic
               cathinones and a purchase of drug paraphernalia from
               Pandora’s Dreams between October 2012 and November
               2012;

              Specifically, an undercover officer assigned to the DEA
               Task Force purchased a glass smoking pipe and three
               packages of “glass cleaner” from Pandora’s Dreams on
               October 31, 2012. The DEA lab found that this substance
               tested positive for a-PVP, which shares substantial
               chemical structural similarities with MDPV, which is a
               Schedule I controlled substance;

              On November 5, 2012, an undercover officer assigned to
               the DEA Task Force purchased one package of “anti-itch
               powder” and one package of “insect repellent” from
               Pandora’s Dreams. The DEA lab found that these
               substances tested positive for a-PVP, which shares
               substantial chemical structural similarities with MDPV,
               which is a Schedule I controlled substance;

              On December 6, 2012, an undercover officer walked into
               Pandora’s Dreams and confirmed that the store was still
               selling synthetic cathinones, including “insect repellent”
               and “anti-itch powder;”



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                      An interview was conducted on November 3, 2012 with a
                       Confidential Source (“CSI”) who had firsthand knowledge
                       of Pandora’s Dreams and how it operated. The CSI was
                       employed at Pandora’s Dreams until recently when he/she
                       was terminated. The CSI stated that Tina Tomes knew that
                       the chemical in these products was illegal;

                      This same CSI also stated that Tina Tomes made about four
                       to six thousand dollars per day selling these products; that
                       she did not keep the products in the store at night due to
                       previous break-ins; and that she kept a firearm in the store
                       for her personal protection;

                      This CSI has a prior criminal record but is considered by
                       law enforcement to be reliable and credible;

                      On two separate occasions – November 7, 2012 and
                       December 11, 2012 – law enforcement conducted
                       surveillance at Pandora’s Dreams as Tina and Albert
                       Tomes departed at closing time. On each occasion, the
                       Tomes departed with bags they carried out of the store.
                       Upon arriving home, they brought one or more of these
                       bags inside their home.

       2. The January Search

       In the second affidavit, Agent Haines sought a warrant to again search Pandora’s Dreams

in Spruce Pines and the residence located on Laurel Cove Road in Bakersville, and also an

outdoor storage shed located near the residence on Laurel Cove Road. The affidavit re-alleges in

nearly identical fashion all of the allegations of the first affidavit, though occasionally in slightly

more concise or summary form. This includes the identical legal basis for asserting that a-PVP, a

controlled substance analogue, is an illegal Schedule I controlled substance.

       Moreover, Agent Haines makes additional allegations, some of which involved events

subsequent to the issuance of the first warrant, including:

                      During law enforcement surveillance on November 7,
                       2012, law enforcement observed unknown individuals
                       place items inside an outdoor storage shed at 164 Laurel
                       Cove Road in Bakersville, NC;
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              On December 17, 2012, law enforcement executed the first
               search warrant at both the business and the residence. Law
               enforcement seized $26,669 in U.S. currency and bulk
               synthetic cathinones that the Tomes called “Dragon;”

              In a post-Miranda interview, Tina Tomes stated that she
               ordered bulk synthetic cathinones powder and packaged it
               herself into packages labeled “Bushman’s Insect Repellent”
               and “Monkey Butt Anti-Itch Powder.” She sold this along
               with pre-packaged “Dragon” insect repellent, and said that
               all three were the same and came from the same source of
               supply;

              Tina Tomes provided to law enforcement a laboratory
               report of the “Dragon” powder that was given to her by the
               source of supply, stating that the analysis detected a-PVP, a
               controlled substance analogue.          She stated to law
               enforcement that she would stop selling “Dragon;”

              Tina Tomes stated that she was then purchasing on a lease
               to own arrangement both 164 and 181 Laurel Cove Road in
               Bakersville, NC. These properties consisted of two trailers
               and three out buildings;

              Pandora’s Dreams had at the time of the affidavit a
               Facebook page, which contained a “status” section. As of
               January 2, 2013, and January 7, 2013, that “status” section
               contained material suggesting that the store obtained a new
               supply of “Dragon” and was once again selling it to
               customers;

              On January 7, 2013, law enforcement in Spruce Pines, NC
               received a call about an intoxicated driver. Subsequent to
               the arrest of the driver, a package of “Dragon” was located
               inside the car. The driver stated that his passenger had
               asked him to drive from Tennessee to Pandora’s Dreams to
               buy “Dragon.” Both the driver and the passenger stated
               that “Dragon” was purchased that night from Pandora’s
               Dreams;

              On January 9, 2013, law enforcement again conducted
               surveillance of Tina and Albert Tomes as they closed the
               store. As before, they carried items from the store to their
               vehicle and then drove directly to the area of their

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                      residence. Albert Tomes placed something inside the shed
                      at 164 Laurel Cave Road. Albert Tomes and Tina Tomes
                      also each carried items into their residence.

B. December Search of the Business and the House

       The standard to be applied here is clearly set out above and will not be repeated here.

With regard to the first affidavit and the proposed search of Pandora’s Dreams, it is self-evident

that probable cause existed. Law enforcement conducted multiple undercover purchases from

the store in October and November of 2012. Specifically, on October 31, 2012 and November 5,

2012, an undercover agent assigned to the DEA Task Force purchased a glass smoking pipe and

a total of five (5) packages of synthetic cathinones packaged under different names from

Pandora’s Dreams. These substances were submitted to the DEA lab, which found that these

substances were a controlled substance analogue, in that they tested positive for a-PVP. A-PVP

shares substantial chemical structural similarities with MDPV, which is a Schedule I controlled

substance.

       There is also ample probable cause set forth for the first search of the residence on Laurel

Cove Road. A confidential informant deemed “reliable and credible” told law enforcement that

Tina Tomes knew that the chemical in the products being sold was illegal, and that she and

Albert Tomes would package the material themselves. The informant stated that the Tomes did

not keep the product at the store at night due to break-ins. On November 7, 2012, and December

11, 2012, law enforcement surveilled the Tomes as they left the store at closing time. On each

occasion, law enforcement observed them carrying bags out of the store and placing them in their

vehicles. They then went to their home on Laurel Cove Road in Bakersville and were observed

carrying bags into the residence. The affidavit also contains more general allegations about drug




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offenders – including their habit of keeping their drugs in close proximity, including in their

home.

        The Court notes that counsel for Ms. Tomes took the position at the December 5, 2013

hearing that his client had committed no criminal offense, and probable cause fails here for that

reason. Counsel is free to present this argument in a dispositive motion, or at the close of

government’s evidence at trial, but the undersigned finds that the affidavit contains a sufficient

allegation that federal law makes these substances illegal. In any event, there is no question that

probable cause existed for the first search of the store and the residence.

C. January Search of the Business, the House and the Shed

        The second search of Pandora’s Dreams was likewise clearly supported by probable

cause. Against the backdrop of all the facts supporting the first search (which are re-alleged),

Agent Haines alleges new facts arising from subsequent events. The first search yielded a large

amount of United States currency and bulk amounts of synthetic cathinones that Tina Tomes

called “Dragon.” Ms. Tomes made damaging statements to law enforcement, including that she

ordered bulk synthetic cathinones powder, packaged it herself, and sold it as “Dragon,”

“Bushman’s Insect Repellent,” and “Monkey Built Anti-Itch Powder;” and that she would

immediately stop selling “Dragon.” Notwithstanding, the “status” section of the Pandora’s

Dreams Facebook page contained material on January 2, 2013 and January 7, 2013 strongly

suggestive that Pandora’s Dreams was again selling “Dragon.” Not coincidentally, Spruce Pine,

NC law enforcement stopped a Tennessee driver for impaired driving on January 7, 2013, who

subsequently stated he and his passenger had bought “Dragon” at Pandora’s Dreams that very

evening. All of this together clearly constituted probable cause for the second search of the

business.



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       Similarly, the affidavit alleges ample facts to allow a second search of the Tomes’

residence.   In addition to the re-alleged facts from the first affidavit, and the new facts

summarized immediately above, there are additional allegations regarding what might be found

at the residence. On January 9, 2013, as they had done in October and November of 2012, law

enforcement conducted surveillance of the Tomes at closing time at the business. As they had

done before, the Tomes carried bags out of the business, and upon arriving at their residence,

appeared to carry the bags inside the residence. Particularly in light of the statements of the

informant that Tina Tomes knew these materials contained a chemical that was illegal and that

Tina Tomes stated to the informant that she did not keep these materials in the store at night, this

new surveillance information is compelling. Probable cause supports the second search of the

Tomes’ residence.

       While not as strong a showing, in light of all the facts alleged, there is also probable

cause to support the search of the shed. Again, it is worth noting that the context here is all of

the information in the first affidavit, and the other information summarized above in terms of

events subsequent to the issuance of the first search warrant. With this as context, the second

affidavit alleges two occasions on which law enforcement observed materials being placed in the

shed at 164 Laurel Cove Road. On the first occasion, the persons involved were not identified;

on the second occasion – January 9, 2013 – law enforcement observed Albert Tomes placing

something in the shed on the way to the Tomes’ nearby residence while coming home from the

store. Tina Tomes stated during an interview that she was then leasing to own both 164 and 181

Laurel Cove Road, and the shed was therefore near her own residence. Taking into account all

the facts alleged, there was probable cause to support the search of the shed, albeit less than for

the store and the Tomes’ residence.



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D. The Leon Good Faith Exception

       The undersigned concludes that probable cause as set forth in Agent Haines’ affidavits

supports all of the searches at issue. Resort to the Leon good faith exception is not necessary, in

the opinion of the Court. However, out of an abundance of caution, the Court notes that should

another court find probable cause lacking for any of the searches, the Leon good faith exception

applies, defeating in the alternative the Defendants’ motion to suppress.

       “Under Leon’s good faith exception, evidence obtained pursuant to a search warrant

issued by a neutral magistrate does not need to be excluded if the officer’s reliance on the

warrant was ‘objectively reasonable.’” United States v. Perez, 393 F.3d 457, 461 (4th Cir. 2004)

(quoting Leon, 468 US at 922, 104 S.Ct. 3405, 83 L.Ed. 2d 677). As set forth above in the

section of this order related to the standard of review, there are four circumstances in which an

officer’s reliance on a warrant would not qualify as “objectively reasonable.” These situations,

simply put, are when the magistrate was misled by information the affiant knew was false; when

the magistrate acted as a rubber stamp and abandoned his judicial role; when the affidavit is so

lacking in probable cause as to render official belief in it entirely unreasonable; and when the

warrant is so fatally deficient in certain particulars that the executing officers cannot reasonably

presume it is valid. None of these circumstances even remotely applies here.

                                         CONCLUSION

       The question for the Court is whether probable cause supported the issuance of these

search warrants. A careful review of the affidavits presented to the magistrate judge make it

apparent that the answer is yes. Assuming arguendo that there was inadequate probable cause as

to any of the searches, the Leon good faith exception applies. On these alternative bases, the

motion to suppress should be denied.



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                                    RECOMMENDATION

       FOR THE FOREGOING REASONS, the undersigned respectfully recommends that

Defendants’ “Motion To Suppress And Memorandum In Support” (Document No. 59) be

DENIED.

                                  TIME FOR OBJECTIONS

       The parties are hereby advised that pursuant to 28 U.S.C. § 636(b)(1)(C), and Rule 72 of

the Federal Rules of Civil Procedure, written objections to the proposed findings of fact,

conclusions of law, and recommendation contained herein may be filed within fourteen (14)

days of service of same. Responses to objections may be filed within fourteen (14) days after

service of the objections. Fed.R.Civ.P. 72(b)(2). Failure to file objections to this Memorandum

and Recommendation with the District Court constitutes a waiver of the right to de novo review

by the District Court.    Diamond v. Colonial Life, 416 F.3d 310, 315-16 (4th Cir. 2005).

Moreover, failure to file timely objections will preclude the parties from raising such objections

on appeal. Diamond, 416 F.3d at 316; Page v. Lee, 337 F.3d 411, 416 n.3 (4th Cir. 2003);

Snyder v. Ridenhour, 889 F.2d 1363, 1365 (4th Cir. 1989); Thomas v. Arn, 474 U.S. 140, 147-

48 (1985), reh'g denied, 474 U.S. 1111 (1986).



                                            Signed: January 9, 2014




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